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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                      EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:19-CR-00107-KJM

12                                  Plaintiff,            UNITED STATES’ SUMMARY BRIEF AFTER
                                                             DAUBERT HEARING IN SUPPORT ITS
13                           v.                           OPPOSITION TO DEFENDANTS’ MOTION TO
                                                         EXCLUDE SPECIAL AGENT CORY PERRYMAN
14   RONALD DEAN YANDELL,
     BILLY SYLVESTER, and
15   DANNY TROXELL,

16                                 Defendants.

17

18                                           I.     INTRODUCTION
19          The United States, by and through Assistant United States Attorneys Jason Hitt, Ross Pearson,

20 and David Spencer, respectfully submits this summary of points and authorities following the Daubert1

21 hearing for Aryan Brotherhood gang expert Special Agent Cory Perryman in connection with the motion

22 to exclude his testimony at trial filed by trial defendants Ronald Yandell and Billy Sylvester, and joined

23 by defendant Danny Troxell (“defendants”). ECF 1800, 1810.2 To provide the Court with focused

24 briefing, the government incorporates by reference its arguments and authorities in its opposition filed at

25 ECF 1860. In short, the Court should find that Special Agent Perryman’s training, experience, and

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                     Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993).
27
            2
                     Troxell filed a non-substantive joinder to the motion to exclude Special Agent Perryman.
28 ECF 1810.

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 1 specialized training provide a reliable basis to express expert opinions about the Aryan Brotherhood.

 2 For these reasons, defendants’ motion to exclude Special Agent Perryman should be denied.

 3                                            II.      ANALYSIS

 4          A.       Special Agent Perryman’s expert testimony is reliable.

 5                   1.     Reliability findings under Rule 702

 6          Rule 702 of the Federal Rules of Evidence “gives district courts ‘broad latitude’ to structure

 7 proceedings concerning expert testimony.” United States v. Holguin, 51 F.4th 841, 852 (9th Cir. 2022),

 8 cert. denied, 143 S. Ct. 2509 (2023), and cert. denied sub nom. Higuera v. United States, 143 S. Ct.

 9 2510 (2023) (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137, 142 (1999)). To satisfy the

10 gatekeeping function under Rule 702, district courts “must make explicit findings that the government’s

11 expert testimony was reliable.” Holguin, 51 F.4th at 851. To make explicit findings of reliability,

12 district courts enjoy “broad latitude with regard to how to determine reliability.” id. at 851 (quotations

13 omitted). The focus is on whether the witness has “a reliable basis in the knowledge and experience of

14 [the relevant] discipline.” Kumho Tire, 526 U.S. at 149. The standard for a reliability finding is a

15 preponderance of the evidence. United States v. Nelson, No. 17-CR-00533-EMC-1, 2021 WL 75757, at

16 *3 (N.D. Cal. Jan. 8, 2021) (“The proponent of expert testimony ‘has the burden of establishing that the

17 pertinent admissibility requirements are met by a preponderance of the evidence.’” (quoting Fed. R.

18 Evid. 702 advisory committee’s note—2000 amendment) (citing Bourjaily v. United States, 483 U.S.

19 171 (1987)).

20                   2.     Special Agent Perryman’s knowledge and experience and specialized training in
                            the conduct of criminal enterprises are reliable grounds for expert gang testimony
21

22          Consistent with Holguin, the Court held Daubert hearings on February 9, and February 12, 2024,

23 based upon the parties shared view that the Ninth Circuit requires the Court to make reliability findings

24 for contested expert witnesses.3 Taking into consideration Special Agent Perryman’s testimony, coupled

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26                It is worth noting here that this same rationale and precedent applies with equal force to
   the proposed defense gang expert Paul Medina. While not before the Court at this time, if the
27 defendants intend to call Medina as a witness, the government will, consistent with Holguin, request a
   Daubert hearing in order to assess whether Medina’s testimony meets the reliability standard of Rule
28 702.

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 1 with the undisputed training and experience in his curriculum vitae, ECF 1800-2, at 2–4, and two expert

 2 notices he affirmed, ECF 1800-1, at 2–4, ECF 1800-3, at 2–6, he is “qualified as an expert by

 3 knowledge, skill, experience, training, or education” to offer opinions about the Aryan Brotherhood and

 4 the Court should so find. Fed. R. Evid. 702.

 5          To make a reliability finding by a preponderance, the standard is not demanding. 4 An expert is

 6 “reliable if the knowledge underlying it ‘has a reliable basis in the knowledge and experience of [the

 7 relevant] discipline.’” United States v. Sandoval-Mendoza, 472 F.3d 645, 654 (9th Cir. 2006) (quoting

 8 Kumho, 526 U.S. at 152). Here, Special Agent Perryman’s substantial “knowledge and experience” and

 9 “specialized training in the conduct of criminal enterprises” are reliable grounds for him to express

10 opinions under Rule 702 because he is a gang expert who can draw upon “data gathered from years of

11 experience and special knowledge.” United States v. Hankey, 203 F.3d 1160, 1169 (9th Cir. 2000);

12 United States v. Alatorre, 222 F.3d 1098, 1104 (9th Cir. 2004).

13          In the context of gang experts, “reliability” “depends heavily on the knowledge and experience

14 of the expert, rather than the methodology or theory behind it.” Holguin, 51 F.4th at 858 (quoting

15 Hankey, 203 F.3d at 1169). “Ninth Circuit law thus provides that testimony by law-enforcement experts

16 is generally reliable under Daubert where the witness demonstrates that his opinion is based on

17 substantial ‘knowledge and experience,’ Hankey, 203 F.3d at 1169, and/or ‘specialized training’ in the

18 conduct of criminal enterprises, Alatorre, 222 F.3d [1098] at 1104 [(9th Cir. 2004)].” Nelson, 2021 WL

19 75757, at *6.

20          Consistent with Holguin, Hankey, and this Court’s previous findings, Special Agent Perryman’s

21 testimony confirmed that he “developed his familiarity over more than two decades working in

22 California prisons, where he observed gang members first hand, including the Aryan Brotherhood.”

23 ECF 1778, at 5. Similarly, he confirmed that his on-the-job training included learning “about the Aryan

24 Brotherhood’s roots, membership, structure, rules, symbols, and purposes first-hand by interviewing

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            4
26                As an example of the relatively-straightforward reliability findings required by Holguin,
   the government submits Exhibit A. That exhibit provides the transcript from a recent Daubert hearing
27 in United States v. Benson, Case No. 2:19-cr-00035 DAD (E.D. Cal.). In that proceeding, the district
   court made the reliability findings required by Holguin in just a few sentences. See Govt. Ex. A, at 39–
28 43.

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 1 hundreds of inmates with connections to the Aryan Brotherhood, and he has read many reports of other

 2 interviews and investigations.” Id. Moreover, his testimony confirmed that “he has investigated Aryan

 3 Brotherhood activity in California prisons and has searched for, confiscated and reviewed

 4 communications between gang members.” And, finally, his testimony, curriculum vitae and the

 5 government’s earlier submissions confirm “he has attended and taught formal classes and training about

 6 prison gangs in California.” Id.

 7          During his eight years at San Quentin State Prison, for example, Perryman described searching

 8 cells and inmate bodies for contraband, including gang-related items. In that capacity, he described

 9 seizing gang-specific evidence, include writings containing messages about gang activities, pictures and

10 symbols of active prison gang members, and photos of validated gang members. He also described

11 scanning and reading inmate mail to look for gang-related codes, or coded messages that conveyed gang

12 business from one source to another. His San Quentin experience also featured scrutinizing recorded

13 prison calls to listen for gang-related conversations or coded gang language being used over the prison

14 line.

15          Beginning in 2010, Perryman assumed the title of Assistant Institutional Gang Investigator at

16 San Quentin with a particular emphasis on white prison gangs. In this capacity, based upon the

17 institution’s needs at the time, he was assigned to specifically focus on white prison gangs who were

18 active at San Quentin, including the Family Affiliated Irish Mafia (“FAIM”), the CoCo Boys (a Contra

19 Costa County-based white gang), Butte County Gangsters, and other similar groups. In this role, he

20 identified, documented, and validated white prison gang members under the CDCR’s point-based

21 validation system. This assignment required him to determine an inmate’s gang status based upon three

22 source items and, generally speaking, direct connections to other known validated gang members. This

23 assignment provided him a wealth of first-hand experience of observing, interviewing, and investigating

24 AB members, associates, and dropouts. See United States v. Vera, 770 F.3d 1232, 1239 (9th Cir. 2014)

25 (gang expert “distilled and synthesized what he had learned through his experience.”).

26          Building on the San Quentin experiences, in 2015, Special Agent Perryman moved to the

27 Northern Debrief Task Force as part of the CDCR’s Office of Correctional Safety, Gang Intelligence

28 Unit – a group focused on lessening the backlog of pending debriefing inmates. With the Northern

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 1 Debrief Task Force, Special Agent Perryman conducted debriefs of validated gang members, including

 2 Aryan Brotherhood members leaving the gang. As part of the Northern Debrief Task Force, Special

 3 Agent Perryman developed a specialty/focus on the Aryan Brotherhood. To further his knowledge base

 4 and a better understand the Aryan Brotherhood, he described reading more than 50 debrief reports

 5 specific to the Aryan Brotherhood. While at the Office of Correctional Safety, he promoted to Sergeant

 6 (2017) and then Lieutenant (2019) and reviewed debriefing reports authored by officers under his

 7 authority. As his expertise in the Aryan Brotherhood increased, he taught classes to other law

 8 enforcement officers about the Aryan Brotherhood.

 9          In sum, the Court should find by a preponderance of the evidence that Special Agent Perryman’s

10 extensive training and experience and his specialized training about the Aryan Brotherhood demonstrate

11 a reliable basis to offer expert opinions about the enterprise. Holguin, 51 F.4th at 858; Hankey, 203 F.3d

12 at 1169; Alatorre, 222 F.3d 1098 at 1104; Nelson, 2021 WL 75757, at *6. His background compares

13 favorably to experts approved by the Ninth Circuit in Holguin, Hankey, Vera, and Alatorre. For these

14 reasons, the Court should deny defendants’ motion to exclude his testimony.

15          B.      Defendants’ anticipated attacks should be rejected.
16          The government anticipates the defendants will argue that Special Agent Perryman’s reliance on

17 debriefing reports is unreliable because he and other CDCR interviewers do not generally put

18 contradictory information into the reports. There are at least two problems with this argument.

19          First, Special Agent Perryman’s knowledge, training, experience, and specialized knowledge are

20 not solely based on conducting and reviewing debriefing reports. His testimony demonstrates that his

21 expertise also draws on more than 20 years of extensive on-the-job training which allows him to draw

22 on a multitude of experiences; these include: (1) years of personally interacting with gang members in

23 prison and speaking with them about gang activity, (2) reading gang-related materials (kites, photos,

24 letters) seized by investigators that were not intended to be viewed by law enforcement, (3) listening to

25 recorded conversations among inmates about gang business in either recorded prison calls or over

26 wiretapped conversations; and (4) consulting with other gang investigators working on Aryan

27 Brotherhood cases to answer their questions and learn about developments in their investigations. The

28 totality of the evidence demonstrates that Special Agent Perryman considers each source of information

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 1 he receives about the Aryan Brotherhood and assesses its validity by setting it against the totality of his

 2 accumulated knowledge about this group. The record thus establishes “the same level of intellectual

 3 rigor that characterizes the practice of an expert in the relevant field.” Kumho Tire, 526 U.S. at 152.

 4           Second, the multi-step debriefing process described by Special Agent Perryman includes

 5 significant safeguards to enhance reliability. For example, in the “interview phase” of the debriefing

 6 process, after the autobiography is prepared, CDCR gang investigators must verify its completeness and

 7 accuracy by corroborating the information through independent sources. Cal. Code Regs. tit. 15,

 8 § 3378.5(b). More broadly speaking, the debriefing process is an administrative function designed to

 9 evaluate the sincerity of a gang member seeking to disassociate from the gang. Investigators must

10 determine if they can “reasonably conclude” that “the subject has dropped out” of the gang and can be

11 safely reclassified within CDCR as not active in gang activity “based upon the offender’s needs in

12 conjunction with the security of the institution, as well as, the safety and security of staff and other

13 offenders.” Cal. Code Regs. tit. 15, § 3378.5(b). Throughout the process, the inmate’s autobiography,

14 as well as the eventual debrief report, are kept confidential and are heavily protected from disclosure in

15 order to protect the debriefing inmate from retaliatory violence.

16           The debriefing process is not, as defendants suggested in their line of questioning, the same as

17 presenting a sworn affidavit to a magistrate judge to establish probable cause in support of criminal

18 charges. In other words, the debriefing process and the report that is produced as result of the process is

19 intended to be a criminal charging instrument. There is no practical reason to require investigators to

20 include each and every possible fact or contradiction from every previous debriefing gang member

21 included in the narrative, nor do the California administrative regulations contemplate such a

22 requirement. Instead, as discussed, the debrief report is the culmination of a methodical process for a

23 gang member to leave their gang while CDCR investigators assess their sincerity. The evaluation of

24 sincerity, in turn, is accomplished through uniform application of a rigorous vetting process that tests

25 and verifies the inmate’s statements through corroboration. Cal. Code Regs. tit. 15, § 3321(c). Each of

26 these factors described by Perryman in his testimony (and mandated by § 3321(c)) focus the investigator

27 on verification of information provided through independent, overlapping sources. This process of

28 corroboration greatly increases the reliability of the debriefing process and, in turn, creates a reliable

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 1 foundation for the formation of an expert opinion. By comparing a debriefing inmate’s account to

 2 independent reliable sources of information, CDCR gang investigators follow a reliable methodology to

 3 acquire gang-specific expertise.

 4          The government also anticipates that the defendants will argue that they doubt Special Agent

 5 Perryman’s credibility based upon an extensive line of cross-examination about defense Exhibits E, F,

 6 and G. This questioning seemed to suggest that Special Agent Perryman was responsible for redacting

 7 confidential debrief reports produced in discovery in this case or that he was hiding things from them in

 8 those reports.

 9          As a threshold matter, for the Court’s gatekeeping function under Daubert, any credibility

10 challenges asserted by the defendants “go to the weight of the evidence” and “are within the province of

11 a fact finder, not a trial court judge.” City of Pomona v. SQM N. Am. Corp., 750 F.3d 1036, 1044 (9th

12 Cir. 2014). In other words, “A district court should not make credibility determinations that are reserved

13 for the jury.” Id.

14          On the substance of defendants’ questions about redactions in their exhibits, they are mistaken in

15 their reasoning process. In particular, the debriefs authored by Special Agent Perryman and contained in

16 defendants Exhibits E, F, and G, were produced by CDCR as a result of discovery litigation by co-

17 defendant Jason Corbett before Magistrate Judge Claire. See generally ECF 1300, 1303, 1434, 1368,

18 1697, 1723, 1771. The discovery demands in those motions focused of items from Corbett’s c-file,

19 Donald Pequeen’s c-file, and other people related to activities at High Desert. As explained in the

20 various briefs and declarations, CDCR only provided redacted versions of the c-files (including the

21 debriefs contained in defendants Exhibits E, F, and G) to the government for production to all defense

22 counsel subject to the protective order and only after CDCR was provided with Magistrate Judge

23 Claire’s Order and had a chance to request clarification or redactions.

24          Special Agent Perryman had nothing to do with the redactions or production of the court-ordered

25 materials because that production was handled by lawyers from the California Attorney General’s Office

26 representing CDCR throughout this litigation. Counsel for CDCR filed her motions and requests to

27 determine various aspects of the production and limitations to what would be produced. Most recently,

28 Corbett asked for what defendants seem to desire: unredacted versions of the sensitive documents

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 1 produced as part of the discovery litigation. ECF 1697. The government opposed. ECF 1723.

 2 Magistrate Judge Claire asked for authority to support the request but, ultimately, Corbett withdrew the

 3 motion. ECF 1771. In the end, defendants attacks on Special Agent Perryman do nothing to disturb the

 4 Court’s relatively straightforward finding by a preponderance that his training, experience, and

 5 specialized knowledge provide a reliable basis for his opinions about the Aryan Brotherhood in this

 6 case.

 7                                           III.   CONCLUSION
 8          The government respectfully requests that the Court find Special Agent Perryman’s training and

 9 experience and specialized knowledge about the Aryan Brotherhood are a reliable basis to provide

10 expert testimony in this case and defendants’ motion to exclude be denied.

11

12   Dated: February 15, 2024                                         PHILLIP A. TALBERT
                                                                      United States Attorney
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14                                                              By: /s/ Jason Hitt
                                                                    JASON HITT
15                                                                  Assistant United States Attorney
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